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        Yh^d/KE ϯ͗ dŚĞ EŽƚĞƐ WĂǇĂďůĞ ƚŽ :ŽƐŚ ĚůĞƌ͕ ŶĞƌŐǇ Ğďƚ ,ŽůĚŝŶŐƐ ĂŶĚ ƚŚĞ ^ŵĂůů ƵƐŝŶĞƐƐ ĚŵŝŶŝƐƚƌĂƚŝŽŶ ĂƌĞ ŶŽƚ ďĞŝŶŐ ƉĂŝĚ

        Yh^d/KE ϱ͗ dŚĞ ŽƵƌƚ ĂƉƉƌŽǀĞĚ ƚŚĞ ƌĞƚĞŶƚŝŽŶ ŽĨ ƚŚĞ ĞǆŝƐƚŝŶŐ ĐĂƐŚ ŵĂŶĂŐĞŵĞŶƚ ƐǇƐƚĞŵ͘ dŚĞƌĞĨŽƌĞ͕ ƚŚĞ ĞďƚŽƌ ŝƐ ŶŽƚ ƌĞƋƵŝƌĞĚ ƚŽ ŽƉĞŶ Ă /W ĂĐĐŽƵŶƚ͘
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        Yh^d/KE ϭϬ͗ dŚĞ ŽƵƌƚ ĂƉƉƌŽǀĞĚ ƚŚĞ ƌĞƚĞŶƚŝŽŶ ŽĨ ƚŚĞ ĞǆŝƐƚŝŶŐ ĐĂƐŚ ŵĂŶĂŐĞŵĞŶƚ ƐǇƐƚĞŵ͘ dŚĞƌĞĨŽƌĞ͕ ƚŚĞ ĞďƚŽƌ ŝƐ ŶŽƚ ƌĞƋƵŝƌĞĚ ƚŽ ŽƉĞŶ Ă /W ĂĐĐŽƵŶƚ͘
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        ĐĐŽƵŶƚ EƵŵďĞƌ ĐĐŽƵŶƚ dǇƉĞ
        ΎΎΎΎΎΎϲϬϰϴ        ƵƐŝŶĞƐƐ /ŶƐƉŝƌĞ ŚĞĐŬŝŶŐ
                                                                                                                                                                                       Case




        ĂƚĞ              ĐĐŽƵŶƚ                     ĞƐĐƌŝƉƚŝŽŶ                                                              ƌĞĚŝƚ      ŽŵŵĞŶƚƐ
                                                                                                                                                                                         Case




                ϱͬϮϲͬϮϬϮϯ ƵƐŝŶĞƐƐ /ŶƐƉŝƌĞ ŚĞĐŬŝŶŐ   ^ŝůŝĐĂ ^ĞƌǀŝĐĞƐ ϰϱϬϵϱϯϯϱϴ ^ Ϯϯ͘Ϭϱ͘Ϯϱ^ŽƵƌĐĞŶĞƌŐǇ ^ŽƵƌĐĞŶĞƌŐǇ Z& η      ϭ͕Ϭϲϲ͘ϬϬ ĐĐŽƵŶƚƐ ZĞĐĞŝǀĂďůĞ Ͳ ^ŝůŝĐĂ
                ϱͬϭϲͬϮϬϮϯ ƵƐŝŶĞƐƐ /ŶƐƉŝƌĞ ŚĞĐŬŝŶŐ   ^dZ/W        ϭϴϬϬϵϰϴϱϵϴdZE^&Z ^dͲyϱ>ϲsϴ:ϴ'ϵKϭ^KhZtdZ /E          ϭ͕ϲϵϮ͘ϴϳ ĐĐŽƵŶƚƐ ZĞĐĞŝǀĂďůĞ Ͳ ŶŚĂŶĐĞĚ DŝĚƐƚƌĞĂŵ
                                                      Z& η ϬϮϯϭϯϱϬϬϲϯϳϱϮϰϭ ϲϯϳϱϮϰϭ
                ϱͬϭϮͬϮϬϮϯ ƵƐŝŶĞƐƐ /ŶƐƉŝƌĞ ŚĞĐŬŝŶŐ   KE>/E y&Z &ZKD  >Z :K^,h         /͗ ϬϬϬϬϬϯϱϯϮ                       ϯϮϬ͘ϬϮ dƌĂŶƐĨĞƌ ĨƌŽŵ dƌƵŝƐƚ ĂŶŬ ĐĐŽƵŶƚ ůŽƐŝŶŐ
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                                                      /E͘ Z& η ϬϮϯϭϯϬϬϬϭϵϰϵϲϯϭ ϭϵϰϵϲϯϭ


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        ĐĐŽƵŶƚ EƵŵďĞƌ ĐĐŽƵŶƚ dǇƉĞ
        ΎΎΎΎΎΎϲϬϰϴ       ƵƐŝŶĞƐƐ /ŶƐƉŝƌĞ ŚĞĐŬŝŶŐ
        ĂƚĞ             ĐĐŽƵŶƚ                     ĞƐĐƌŝƉƚŝŽŶ                                                  Ğďŝƚ
               ϱͬϯϭͬϮϬϮϯ ƵƐŝŶĞƐƐ /ŶƐƉŝƌĞ ŚĞĐŬŝŶŐ   WƵŵƉ hƉ WƌŽĨŝƚƐ ϭϮϬϰϴϵϱϯϭϳWĂǇĂďůĞƐ                             ;ϭ͕ϱϬϬ͘ϬϬͿ ĐĐŽƵŶƚŝŶŐ
                                                     tϬϭϲDK'z<YϮEy&<ϴ^ŽƵƌĐĞǁĂƚĞƌ͕ /ŶĐ͘ Z& η
                                                     ϬϮϯϭϱϭϬϬϴϰϬϬϬϴϱ
               ϱͬϭϵͬϮϬϮϯ ƵƐŝŶĞƐƐ /ŶƐƉŝƌĞ ŚĞĐŬŝŶŐ   ^/EZ'/^͕ >KZϳϳϬϱϭϬϰϴϳ/d WzW>tϭϬϮϳϬϴϯϴϮϲϬϬϲ            ;ϱϲϲ͘ϯϭͿ KŶůŝŶĞ ƐŽĨƚǁĂƌĞ
                                                     :K^,h >Z       Z& η ϬϮϯϭϯϵϬϭϬϭϳϳϯϯϰ

               ϱͬϭϵͬϮϬϮϯ ƵƐŝŶĞƐƐ /ŶƐƉŝƌĞ ŚĞĐŬŝŶŐ   /Edh/d Ύ   ϬϬϬϬϳϱϲϯϰϲYŽŽŬƐ KŶůtϭϲϵϭϬϳϲ                        ;ϵϬ͘ϲϭͿ YƵŝĐŬďŽŽŬƐ
                                                     ^KhZtdZ͕ /E͘ Z& η ϬϮϯϭϯϴϬϬϵϬϭϳϵϰϰ
               ϱͬϭϴͬϮϬϮϯ ƵƐŝŶĞƐƐ /ŶƐƉŝƌĞ ŚĞĐŬŝŶŐ   WzW>     WzW>^/ϳϳ/E^d y&Z t'/d,h /E :K^,h              ;Ϯϰ͘ϬϬͿ KŶůŝŶĞ ƐŽĨƚǁĂƌĞ
                                                     >Z     Z& η ϬϮϯϭϯϳϬϬϴϱϯϳϭϰϭ
               ϱͬϭϱͬϮϬϮϯ ƵƐŝŶĞƐƐ /ŶƐƉŝƌĞ ŚĞĐŬŝŶŐ   ^>< dϯϭDϲh,ϱ ϭϴϬϬϵϰϴϱϵϴ^>< dϯϭt^dͲ                       ;Ϯϰ͘ϰϲͿ KŶůŝŶĞ ƐŽĨƚǁĂƌĞ
                                                     ^ϭ,Ϯ/ϯ<ϳEϳ'ϯ^KhZtdZ /E      Z& η ϬϮϯϭϯϱϬϬϱϯϲϮϲϳϳ

               ϱͬϭϱͬϮϬϮϯ ƵƐŝŶĞƐƐ /ŶƐƉŝƌĞ ŚĞĐŬŝŶŐ   WzW>       WzW>^/ϳϳ/E^d y&Z td>^^/E :K^,h             ;ϮϬ͘ϬϬͿ KŶůŝŶĞ ƐŽĨƚǁĂƌĞ
                                                     >Z       Z& η ϬϮϯϭϯϱϬϬϱϮϲϭϭϵϲ
               ϱͬϭϱͬϮϬϮϯ ƵƐŝŶĞƐƐ /ŶƐƉŝƌĞ ŚĞĐŬŝŶŐ   &K        ϰϭϯϱϲϰϳϵϬϭ&K ϬϰϵϮϭϰϳϭϯϱ                        ;ϴϱϬ͘ϲϲͿ /ŶƐƵƌĂŶĐĞ
                                                     ^KhZtdZ͕ /E Z& η ϬϮϯϭϯϮϬϬϰϲϳϲϴϮϲ
               ϱͬϭϱͬϮϬϮϯ ƵƐŝŶĞƐƐ /ŶƐƉŝƌĞ ŚĞĐŬŝŶŐ   dZE^d/KE ^Zs/ &                                           ;Ϯϱ ϬϬͿ ĂŶŬ ĨĞĞƐ
               ϱͬϭϱͬϮϬϮϯ ƵƐŝŶĞƐƐ /ŶƐƉŝƌĞ ŚĞĐŬŝŶŐ   t/ZͬKhdͲϮϬϮϯϬϱϭϱϬϬϬϬϰϯϵϳ͖E& DĞĚůĞƌ &ĞƌƌŽ tŽŽĚŚŽƵƐĞ           ;ϲ͕ϵϬϬ͘ϬϬͿ >ĞŐĂů
                                                     Θ DŝůůƐ
               ϱͬϭϮͬϮϬϮϯ ƵƐŝŶĞƐƐ /ŶƐƉŝƌĞ ŚĞĐŬŝŶŐ   WzW>       WzW>^/ϳϳ/E^d y&Z tKKDs/KK                  ;ϯϰ͘ϭϬͿ KŶůŝŶĞ ƐŽĨƚǁĂƌĞ
                                                     :K^,h >Z        Z& η ϬϮϯϭϯϮϬϬϰϰϮϳϵϵϱ
               ϱͬϭϬͬϮϬϮϯ ƵƐŝŶĞƐƐ /ŶƐƉŝƌĞ ŚĞĐŬŝŶŐ   /Edh/d ϰϲϲϭϵϭϯϱ ϵϮϭϱϵϴϲϮϬϮdZE &                              ;ϭϱϲ͘ϴϭͿ YƵŝĐŬďŽŽŬƐ
                                                     ϱϮϰϳϳϭϵϵϴϳϵϱϬϴϰ^KhZtdZ͕ /E͘ Z& η
                                                     ϬϮϯϭϯϬϬϬϭϵϰϳϱϴϵ
               ϱͬϭϬͬϮϬϮϯ dƌƵƐƚ ĂŶŬ                  dƌĂŶƐĨĞƌ ƚŽ ŵĞŐǇ ŚĞĐŬŝŶŐ                                      ;ϯϮϬ͘ϬϮͿ ůŽƐŝŶŐ ŽĨ dƌƵŝƐƚ ĂŶŬ ĐĐŽƵŶƚ
                ϱͬϵͬϮϬϮϯ ƵƐŝŶĞƐƐ /ŶƐƉŝƌĞ ŚĞĐŬŝŶŐ   'ƵŝĚĞůŝŶĞ ZĞƚŝƌĞϭϴϬϬϵϰϴϱϵϴ'ƵŝĚĞůŝŶĞ ^dͲ                       ;ϴϳ͘ϬϬͿ ϰϬϭ<
                                                     :ϱϲϱDϮdϭEϳ^KhZtdZ /E          Z& η ϬϮϯϭϮϴϬϭϬϲϴϮϱϰϰ

                ϱͬϱͬϮϬϮϯ ƵƐŝŶĞƐƐ /ŶƐƉŝƌĞ ŚĞĐŬŝŶŐ   dŚĞ ĂŶŶŽŶ ϰϮϳϬϰϲϱϲϬϬdŚĞ ĂŶŶŽŶ^dͲ                            ;ϯϬ͘ϬϬͿ ZĞŶƚ
                                                     DϮYϮϮdϵtϵ^Ϭ^KhZtdZ /E  ^KZ& η
                                                     ϬϮϯϭϮϰϬϬϴϭϵϮϳϲϯ
                ϱͬϯͬϮϬϮϯ ƵƐŝŶĞƐƐ /ŶƐƉŝƌĞ ŚĞĐŬŝŶŐ   'h^dK       ϵϭϯϴϴϲϰϬϬϳ& ϴϯϯϭϱϭϲƐĞŵũƵϱĂƉŵƉ                   ;ϲϳ͘ϭϲͿ WĂǇƌŽůů ĨĞĞƐ
                                                     ^ŽƵƌĐĞǁĂƚĞƌ͕ /ŶĐ͘ Z& η ϬϮϯϭϮϯϬϬϱϵϱϯϭϳϳ
                ϱͬϮͬϮϬϮϯ ƵƐŝŶĞƐƐ /ŶƐƉŝƌĞ ŚĞĐŬŝŶŐ   /Z>>     ϬϱϭϰϲϳϬϮϬϯdYϳϳϴ ϳ,, /Z>>                   ;ϭϱϵ͘ϯϵͿ hƚŝůŝƚŝĞƐ
                                                     ^ŽƵƌĐĞǁĂƚĞƌ /ŶĐ  ^ŽZ& η ϬϮϯϭϮϭϬϬϯϱϰϰϯϯϯ
                ϱͬϮͬϮϬϮϯ ƵƐŝŶĞƐƐ /ŶƐƉŝƌĞ ŚĞĐŬŝŶŐ   ^^dZh^dKW^ ϰϯϭϴϰϴϳϳϮWͬZ ŽŶƚƌ                               ;ϭϭϰ͘ϯϴͿ ϰϬϭ< ĐŽŶƚƌŝďƵƚŝŽŶƐ
                                                     ^KhZtdZ ϰϬϭ; Z& η ϬϮϯϭϮϭϬϬϯϲϰϴϰϭϮ
                ϱͬϮͬϮϬϮϯ ƵƐŝŶĞƐƐ /ŶƐƉŝƌĞ ŚĞĐŬŝŶŐ   /Edh/d ϴϳϯϭϳϳϳϱ ϵϮϭϱϵϴϲϮϬϮd &                               ;ϭϲ͘ϬϬͿ KŶůŝŶĞ ƐŽĨƚǁĂƌĞ
                                                     ϱϮϰϳϳϭϵϵϴϳϵϱϬϴϰ^KhZtdZ͕ /E͘ Z& η
                                                     ϬϮϯϭϮϮϬϬϰϱϳϵϲϴϳ
                ϱͬϭͬϮϬϮϯ ƵƐŝŶĞƐƐ /ŶƐƉŝƌĞ ŚĞĐŬŝŶŐ   />>͘KD >> ϭϬϴϮϲϴϵϬϬϬ/>>/E'                                     ;Ϭ ϱϭͿ ĂŶŬ ĨĞĞƐ
                                                     WWϬϭϰ&ytD,'/t,^ŽƵƌĐĞǁĂƚĞƌ͕ /ŶĐ͘ Z& η
                                                     ϬϮϯϭϮϭϬϬϮϱϱϰϴϵϮ/>>͘KD Ϭϭϰ&ytD,'/t, ^dDd
                                                     ϮϯϬϰϵϭϯϰϰϳϯ ^KhZtdZ͕ /E͘
                ϱͬϭͬϮϬϮϯ ƵƐŝŶĞƐƐ /ŶƐƉŝƌĞ ŚĞĐŬŝŶŐ   dZE^d/KE ^Zs/ &                                           ;Ϯϱ ϬϬͿ ĂŶŬ ĨĞĞƐ
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        sĞŶĚŽƌ                                                                     ĂƚĞ               ŵŽƵŶƚ        ŽŵŵĞŶƚƐ
        &ƌĞĞŵĂŶ                                                                           ϯͬϭϴͬϮϬϮϯ        ϭ͕ϴϮϬ͘Ϭϲ ŝůů ĨƌŽŵ ĐŽůůĞĐƚŝŽŶ ĂŐĞŶĐǇ
        ŵĞŐǇ ƌĞĚŝƚ ĂƌĚ                                                                 ϯͬϮϭͬϮϬϮϮ            Ϯ͘ϭϮ 'ŽŽŐůĞ ^ƚŽƌĂŐĞ ĐŚĂƌŐĞ
        :ŽƐŚ ĚůĞƌ                                                                        ϯͬϯϬͬϮϬϮϯ        ϰ͕ϰϮϯ͘ϱϴ ĐĐƌƵĞ :ŽƐŚ ĚůĞƌ ƐĂůĂƌǇ
        dĞǆĂƐ ŽŵƉƚƌŽůůĞƌ                                                                 ϯͬϭϴͬϮϬϮϯ          Ϯϭϲ͘ϲϬ ^ĂůĞƐ ƚĂǆ ĨƌŽŵ ůůǇ DĂǇ DŝŶĞƌĂůƐ Z ƉĂǇŵĞŶƚ
        dĞǆĂƐ ŽŵƉƚƌŽůůĞƌ                                                                 ϯͬϮϳͬϮϬϮϯ           ϲϲ͘ϬϬ ^ĂůĞƐ ƚĂǆ ĨƌŽŵ ^ŝůŝĐĂ ^ĞƌǀŝĐĞƐ Z ƉĂǇŵĞŶƚ
        :ŽƐŚ ĚůĞƌ͕ ŶĞƌŐǇ Ğďƚ ,ŽůĚŝŶŐƐ >>͕ ĂŶĚ ŽŶǀĞƌƚŝďůĞ EŽƚĞ ,ŽůĚĞƌƐ                ϯͬϯϬͬϮϬϮϯ        ϴ͕ϭϯϴ͘ϯϯ ĐĐƌƵĞ ŝŶƚĞƌĞƐƚ
        ŚĂŵďĞƌůĂŝŶ ,ƌĚůŝĐŬĂ                                                              ϯͬϯϭͬϮϬϮϯ       Ϯϰ͕ϵϰϴ͘ϯϴ hŶďŝůůĞĚ &ĞĞƐ Ͳ DĂƌĐŚ ϮϬϮϯ
        ŚĂŵďĞƌůĂŝŶ ,ƌĚůŝĐŬĂ                                                              ϰͬϯϬͬϮϬϮϯ       ϰϴ͕ϭϳϭ͘ϯϱ hŶďŝůůĞĚ &ĞĞƐ Ͳ Ɖƌŝů ϮϬϮϯ
        <ĞŶtŽŽĚ Θ ƐƐŽĐŝĂƚĞƐ                                                              ϰͬϯϬͬϮϬϮϯ        ϭ͕Ϭϭϰ͘ϬϬ hŶďŝůůĞĚ &ĞĞƐ Ͳ Ɖƌŝů ϮϬϮϯ
        ŶĞƌŐǇ Ğďƚ ,ŽůĚŝŶŐƐ >>                                                          ϰͬϯϬͬϮϬϮϯ       ϱϯ͕Ϯϲϭ͘Ϯϯ ĐĐƌƵĞĚ /ŶƚĞƌĞƐƚ ΂ϭ΃
        :ŽƐŚ ĚůĞƌ                                                                        ϰͬϯϬͬϮϬϮϯ        ϯ͕ϯϬϬ͘ϬϬ ĐĐƌƵĞĚ ŝŶƚĞƌĞƐƚ
        ŽŶǀĞƌƚŝďůĞ EŽƚĞ ,ŽůĚĞƌƐ                                                          ϰͬϯϬͬϮϬϮϯ        ϰ͕ϴϯϴ͘ϯϯ ĐĐƌƵĞĚ ŝŶƚĞƌĞƐƚ
        dĞǆĂƐ ŽŵƉƚƌŽůůĞƌ                                                                 ϰͬϮϱͬϮϬϮϯ           ϲϲ͘ϬϬ ^ĂůĞƐ dĂǆ
        dĞǆĂƐ ŽŵƉƚƌŽůůĞƌ                                                                  ϰͬϭͬϮϬϮϯ          ϯϰϮ͘Ϯϭ ^ĂůĞƐ dĂǆ
        'ƵŝĚĞůŝŶĞ ZĞƚŝƌĞŵĞŶƚ                                                              ϰͬϭϴͬϮϬϮϯ          ϭϭϰ͘ϯϴ ϰϬϭ< ŽŶƚƌŝďƵƚŝŽŶƐ
        ŵĞŐǇ ƌĞĚŝƚ ĂƌĚ                                                                 ϰͬϭϴͬϮϬϮϯ          ϳϯϰ͘ϲϭ &ŝŶĂŶĐĞ ŚĂƌŐĞ
        ŵĞŐǇ ƌĞĚŝƚ ĂƌĚ                                                                  ϰͬϱͬϮϬϮϯ           ϭϭ͘ϵϬ &ŝŶĂŶĐĞ ŚĂƌŐĞ
        ŵĞŐǇ ƌĞĚŝƚ ĂƌĚ                                                                  ϰͬϱͬϮϬϮϯ           ϯϵ͘ϬϬ WƌĞǀŝŽƵƐ ǇĐůĞ >ĂƚĞ &ĞĞ
        dĞǆĂƐ ŽŵƉƚƌŽůůĞƌ                                                                 ϱͬϮϲͬϮϬϮϯ           ϲϲ͘ϬϬ ^ĂůĞƐ dĂǆ
        ŚĂŵďĞƌůĂŝŶ ,ƌĚůŝĐŬĂ                                                              ϱͬϯϭͬϮϬϮϯ       ϮϬ͕ϯϵϳ͘Ϯϳ hŶďŝůůĞĚ &ĞĞƐ Ͳ DĂǇ ϮϬϮϯ
        <ĞŶtŽŽĚ Θ ƐƐŽĐŝĂƚĞƐ                                                              ϱͬϯϭͬϮϬϮϯ        ϱ͕Ϯϳϯ͘ϱϬ hŶďŝůůĞĚ &ĞĞƐ Ͳ DĂǇ ϮϬϮϯ
        :ŽƐŚ ĚůĞƌ                                                                        ϱͬϯϭͬϮϬϮϯ        ϯ͕ϯϬϬ͘ϬϬ ĐĐƌƵĞĚ ŝŶƚĞƌĞƐƚ
        ŽŶǀĞƌƚŝďůĞ EŽƚĞ ,ŽůĚĞƌƐ                                                          ϱͬϯϭͬϮϬϮϯ        ϰ͕ϴϯϴ͘ϯϯ ĐĐƌƵĞĚ ŝŶƚĞƌĞƐƚ

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        ΂ϭ΃ ĚĚŝƚŝŽŶĂů ŝŶƚĞƌĞƐƚ ŽŶ ƚŚĞ ŶĞƌŐǇ Ğďƚ ,ŽůĚŝŶŐƐ >> EŽƚĞ WĂǇĂďůĞ ƚŚĂƚ ŵĂǇ ďĞ ĂƉƉůŝĐĂďůĞ ƚŽ ƉƌŝŽƌ ŵŽŶƚŚƐ
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                                                                 Sourcenergy, Inc.
                                                            A/R Aging Detail - EXHIBIT F
                                                                       As of May 31, 2023


                                         Transact
                                Date     ion Type     Num                         Customer                 Due Date        Amount        Open Balance
        91 or more days past due
                            04/05/2019   Invoice    1167     Terrain Water Solutions LLC                  10/04/2019         21,030.05         11,030.05
                            09/18/2019   Invoice    1224     Avensis Energy                               10/18/2019          4,597.13          4,597.13
                            04/30/2019   Invoice    1178     NSS Texas, LLC                               12/01/2019         26,650.00         26,650.00
                            12/18/2019   Invoice    1253     Avensis Energy                               01/17/2020          4,597.13          4,597.13
                            12/20/2019   Invoice    1257     Pearl Water Midstream                        01/19/2020         26,650.00         26,650.00
                            12/31/2019   Invoice    1262     US Clean Water Technology, LLC               01/30/2020         13,325.00          6,656.20
                            01/15/2020   Invoice    1271     M&W Hot Oil                                  01/30/2020         20,254.00         15,190.50
                            02/17/2020   Invoice    1278     PetroH2O Recovery, LLC                       02/17/2020         15,990.00         15,990.00
                            08/29/2019   Invoice    1220     Permian Water Resources                      02/28/2020         12,951.90          6,475.94
                            03/18/2020   Invoice    1289     Avensis Energy                               04/17/2020          4,597.13          4,597.13
                            01/27/2021   Invoice    1339     Well Spring Automation LLC                   01/27/2021          9,000.00          4,500.00
                            01/27/2021   Invoice    1336     Vista Disposal Solu ions, LLC                01/27/2021         35,000.00         35,000.00
                            01/27/2021   Invoice    1337     Republic EES, LLC                            01/29/2021         15,990.00         15,990.00
                            02/25/2021   Invoice    1344     Mustang Extreme Environmental Services LLC   02/25/2021          6,929.00          6,929.00
                            12/09/2021   Invoice    1405     Black Warrior Minerals E&P, LLC              12/09/2021          3,198.00          3,198.00
                            05/01/2022   Invoice    1430     Lone Oak Royalty Partners LLC                05/01/2022          1,385.80          1,385.80
        Total for 91 or more days past due                                                                             $    222,145.14    $   189,436.88
        31 - 60 days past due


        Current
                            04/30/2023   Invoice    1500     Wellsite Navigator                           05/15/2023          4,234.15          4,234.15
                            06/17/2021   Invoice    1372     Enhanced Midstream, LLC                      6/17/2023          40,748.92           980.18
                            05/31/2023   Invoice    1506     ConocoPhillips Company                       06/30/2023        186,304.86        186,304.86
        Total for Current                                                                                              $    231,287.93    $   191,519.19
        TOTAL                                                                                                          $    453,433.07    $   380,956.07
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